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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT
UNITED STATES OF AMERICA,

V                                          NO. 3:22-CR-00226-(SVN)
MARK CARBUTTI                              MAY 4, 2023

        DEFENDANT'S RESPONSE TO GOVERNMENT'S SENTENCING
                         MEMORANDUM

      This is a response to the sentencing memorandum of the United States of

America.

      The Government's memorandum, while articulate and well written,

nevertheless disappointsl. It disappoints because it does not address directly

the core of defendant's sentencing memorandum: Mark Carbutti has

experienced two major medical events, both of which have had a substantial

emotional impact which led to substance abuse and a pattern of behavior

resulting in tax offenses and a conviction in this Court.

       Mr. Carbutti is entitled to have the Court weigh his personal history and

to factor that into its sentencing calculus. We believe it supports his request


I The determination of whether this memorandum qualifies as short or long shrift
(Government's Memorandum, p. 2) is left to the reader.




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for a variance or departure. The Government, by failing to address directly    -   or

even   fully acknowledge - the core of the defendant's presentation, deprives the
Court of the Government's perspective on that position. The sentencing statute

requires consideration of the defendant's "history and characteristics." Many,

like Mr. Carbutti, in seeking relief from the confines of Guidelines arithmetic

through a departure or variance, base their requests largely upon their
personal histories. The Government's opposition to Mark's request, then, is

limited to a Guideline analysis which ignores a sound basis for a non-

Guidelines sentence.

       The Government acknowledges that a two-level reduction in the Mark's

Offense Level is appropriate given the proposed guideline amendments

(Government's Memorandum, p. 5-6). The result is a reduction to Offense

Level 15 and an exposure of 18-24 months, That application is appropriate;

yet the Government nevertheless asks for a Guidelines sentence at the low end

of that bracket. In doing so the Government continues to ignore the

defendant's history and applies a sterile Guidelines application. A variance

from the "amended" calculation is merited, perhaps even lower than the year-

and-a-day requested in the original submission.




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      The Government's response to the defendant's identifying the anomaly of

including penalties and interest in the "tax loss" calculation is interesting.

(Government's Memorandum, p. 6-8). It implicitly acknowledges the anomaly

but turns the argument around by saying in effect that the defendant should
not benefit by a reduction but that others (were the Guidelines properly

drafted) should incur an increase by including penalties and interest in

standard evasion cases. The anomaly exists. The defendant requests the

Court consider that in deciding the appropriate sentence. It supports his

request for a variance. At a minimum it demonstrates the flaw on inflexible

Guideline calculations.

       Ironically, the Government's energetic rejection of defendant's reference

to consideration of statistics in applying the sentencing statute actually

endorses the statutory requirements (and the defendant's position) that each

case must be determined on its own and take into account all relevant factors

of each defendant2. Mark's unique personal history             - the medical difficulties
and consequences      -   is a substantial facet of his illegal conduct. As such           it


2It is too easy and glib to refer to Mark Twain's famous quote about   statistics. It is concededly
a battlefield on which neither side can emerge as the true winner.




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merits significant weight by the Court in determining an appropriate sentence

The decision of how much weight should be given is obviously up to the Court

The Government's submission does not address that part of the sentencing

process.




                                RESPECTFULLY SUB           D,
                                THE DEFENDANT,
                                             UTTI


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                            CERTIFICATE OF SERVICI
      The undersigned hereby certifies that on May 4, 2023 the foregoing was

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